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11                        UNITED STATES DISTRICT COURT
12                      SOUTHERN DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,              Case No. 18CR3677-W
14
15                                          UNITED STATES’ NOTICE OF
          v.                                MOTION AND MOTION TO FILE A
16                                          MEMORANDUM EXCEEDING 25-
17   DUNCAN D. HUNTER (1),                  PAGES IN SUPPORT OF THE
     MARGARET E. HUNTER (2),                SENTENCINGS OF DUNCAN D.
18                                          HUNTER AND MARGARET E.
                                            HUNTER
19              Defendants.
20                                          DATES: March 17, 2020 (1)
                                                   April 7, 2020 (2)
21                                          TIME: 9:00 AM
                                            COURT: 3C (Schwartz)
22
                                            HON. THOMAS J. WHALEN
23
24       The United States of America, by and through its counsel David D. Leshner, Attorney
25 for the United States, and Emily W. Allen, W. Mark Conover, and Phillip L.B. Halpern,
26 Assistant U.S. Attorneys—acting out of an abundance of caution—moves to file a
27 memorandum that would exceed the 25-page limit (imposed by the United States District
28 Court, Southern District of California’s Local Criminal Rule (“CrimLR”) 47.1(e) on
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 1 Criminal Trial Motions) as part of its sentencing papers related to the sentencing of Duncan
 2 D. Hunter and Margaret E. Hunter.1
 3         On December 3, 2019, Defendant Duncan D. Hunter (“Hunter”) walked into the
 4 United States Federal Courthouse, stood before this Court, and pled guilty to knowingly
 5 and willfully stealing more than $150,000 in campaign funds for his personal use and
 6 enjoyment. Paradoxically, in an interview the previous day, Hunter excused his conduct
 7 suggesting he was pleading guilty only to spare his kids a public trial and that his crimes
 8 only amounted to failing to monitor misspending by his wife. See KUSI Interview of
 9 Duncan Hunter (December 2, 2019) (“I’m going to change my plea to guilty. I think it’s
10 important not to have a public trial for three reasons. And those three reasons are my kids[.]
11 … I did not properly monitor or account for my campaign’s money.”).
12         This was not particularly surprising as Hunter has been trying to deflect criminal
13 responsibility onto his wife and family from the very outset of the FEC investigation. See
14 e.g., Fox News’ Martha MacCallum Interview of Hunter on The Story (August 23, 2018)
15 (“I gave [my wife] power of attorney. She handled my finances . . . She was also the
16
17         1
              As indicated above, the United States is moving out of an abundance of caution as
18   it does not appear that a motion to enlarge the standard page limitation is required under the
     existing local rules. Indeed, the 25-page limitation governing the filing of all motions by
19   its express terms does not appear to govern sentencing memos as made clear by its caption:
20   “Length of Brief in Support of or in Opposition to Motions.” See CrimLR 47.1(e). The
     actual text of Rule 47.1(e) does nothing to dispel this conclusion (“[b]riefs of memoranda
21   in support of or in opposition to all motions noticed for the same motion day must not
22   exceed twenty-five (25) pages in length total for all such motions without leave of a district
     judge.”) (emphasis added). Id. Significantly, the local rule addressing sentencing contains
23   no such page limitation. See CrimLR 32.1 (7) (providing that most sentencing matters “may
24   be addressed in a sentencing memorandum filed and served no less than seven (7) days
     before the sentencing hearing date”). Moreover, there appears to be no other provision in
25   the local criminal rules that would appear to impose a 25-page limitation on sentencing
26   memorandum. See generally CrimLRs. Nevertheless, as counsel for Duncan Hunter has
     indicated he would still prefer a terser memorandum to what appears to be a permitted filing,
27   we wished to apprise the Court of the issue in advance. Counsel for Margaret Hunter has
28   indicated that they have no objection to the filing of an oversized sentencing pleading –
     even if the rules did, in fact, impose a 25-page limitation.
                                                    2
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 1 campaign manager, so whatever she did that’ll be looked at too, I’m sure, but I didn’t do
 2 it.”); The Carl DeMaio Report Interview of Hunter (January 6, 2017) (“I've got more
 3 important things to think about than my kid's rabbit. I mean, there's other people in the
 4 family that deal with that stuff . . . I don't keep track of rabbits, I try and do what's right for
 5 the country.”); San Diego Union-Tribune interview of Hunter (April 7, 2016) (“Hunter said
 6 that he has more than one credit card that is blue, which may be why his son mistakenly
 7 pulled the campaign card out of the congressman's wallet for online video game downloads,
 8 instead of the family one.”).
 9         On the other hand, it is somewhat surprising that Hunter still partially clings to this
10 tactic, even post-plea. While now taking responsibility for his actions, he still argues “that
11 his motivation for committing these illegal acts stemmed from carelessness on his part.”
12 U.S. Presentence Investigation Report (“PSR”) at ¶ 46.2 He also continues to argue that “he
13 was relying on his [wife] to ensure that their finances were in order as had done while he
14 served in the [U.S. Marine Corps].” PSR at ¶ 47. Given this equivocation, it is essential
15 that the United States establish that Hunter: (i) personally stole at least tens of thousands of
16 dollars in campaign funds beginning the moment he issued himself a credit card in January
17 2010; (ii) continually condoned and enabled his wife’s commission of similar thefts that
18 were executed for their shared benefit; and (iii) throughout the conspiracy, deflected blame
19 onto his wife and family for these crimes.3
20
           2
             The United States wishes to categorically state that Hunter is entitled to a 3-point
21 adjustment for acceptance of responsibility pursuant to USSG §§ 3E1.1 (a) and (b). We
22 merely point out that his explanation for his wrongdoing is one of the reasons that suggests
   an expansive statement of facts is warranted.
23         3
             It is also important to set forth an expansive factual summary in order to combat
24 Hunter’s incessant and incendiary accusations that the Department of Justice has been
   waging a political vendetta against him since the investigation first became public. See e.g.,
25
   Mark Larson Radio Interview (January 9, 2018) (“the local Department of Justice is being
26 run by The Union-Tribune and, and local folks here with no oversight); Fox 5 San Diego
   interview (August 21, 2018) (“This is the political late hit . . . they're hoping that this charge
27
   itself takes [t]his Republican seat and moves it to their column - the Democrat column. It's
28 a political late hit); Channel 10 News Interview (August 22, 2018) (“This is modern politics

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 1          In this case involving political misconduct, it is essential that the Department of
 2 Justice be able to set forth an accurate and complete story for this Court’s consideration.
 3 Equally important, it is absolutely vital with such charges that the public see firsthand that
 4 the case is being handled transparently and with no undue motivation or pressure from any
 5 source. With full exposure to all relevant facts, the Court will be in the best position
 6 determine the defendant’s culpability and the propriety of punishment for both Hunter and
 7 his wife.
 8          Finally, it should be noted that the facts contained in Hunter’s sentencing
 9 memorandum will also be utilized in the sentencing memorandum filed by the United States
10 relevant to Margaret Hunter’s sentencing. And, as previously noted, counsel for Margaret
11 Hunter has no objection to the United States filing an oversized brief – if, in fact, there is a
12 25-page limitation on sentencing memoranda that is not immediately apparent in the local
13 rules.
14          For the foregoing reasons, the Government respectfully requests authorization to
15 forego the 25-page limitation (relating to Pre-Trial Motions) when filing its sentencing
16 memorandum.
17          DATED: February 27, 2020.
                                                    Respectfully submitted,
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19                                                  DAVID D. LESHNER
                                                    Attorney for the United States
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21                                                  Phillip L.B. Halpern
22                                                  EMILY W. ALLEN
                                                    W. MARK CONOVER I
23
                                                    PHILLIP L.B. HALPERN
24                                                  Assistant U.S. Attorneys
25
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27
28 and modern media, mixed in with law enforcement that has a political agenda . . . That’s the
   new Department of-of Justice [the] Democrats' arm of law enforcement.”).
                                             4
